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 9                                IN THE UNITED STATES DISTRICT COURT
10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                      SAN FRANCISCO DIVISION
12

13    UNITED STATES OF AMERICA,                        Case No.: CR 21–0080 VC

14                   Plaintiff,                        DEFENDANT’S SENTENCING
                                                       MEMORANDUM
15           v.
                                                       Court:   Hon. Vince Chhabria
16    JEREMY MOUTON,                                   Date:    May 17, 2022
17                   Defendant.                        Time:    1:00 p.m.

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 1                                               ARGUMENT
 2         Defendant Jeremy Mouton, who at age 34 has been homeless and struggling on-and-off with
 3   drug addiction for most of his adult life, has no prior felony convictions of any kind, and only two
 4   prior misdemeanors from 2010 for simple possession of drugs, for which he received probation. PSR
 5   ¶¶ 31-32, 49, 60.1 For the reasons set forth below, the Court should vary downward under the factors
 6   of 18 U.S.C. § 3553(a) from the advisory guideline range of 12 to 18 months (reflecting an upward

 7   adjustment for absconder), and sentence him here to a term of imprisonment of “time served,”

 8   effectively six months custody.

 9         The instant offense from August 2019 involved Mr. Mouton offering to sell what he thought

10   was Ecstasy to an undercover officer, but turned out to contain methamphetamine. Id. ¶¶ 9-13.

11   While on pretrial release on this case, Mr. Mouton was initially living with his grandmother and

12   testing negative for drug use, but he was asked to leave after she was diagnosed with cancer and was

13   undergoing treatment that was complicated by COVID-19’s strict measures. Id. ¶ 63. Homeless

14   again and without transportation, complying with the conditions of pretrial release became much

15   tougher. Id.

16         As a result of his spotty compliance, Mr. Mouton was ordered to surrender to the Santa Rita jail

17   for a brief period of “flash incarceration,” but he failed to report and thereafter absconded from

18   supervision. Id. ¶¶ 16-17. As noted in the Presentence Report:

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                    Mr. Mouton deeply regrets his poor decision-making. This was during the
20                  pandemic and he was working doing Doordash at that time and trying to
                    reconnect with his family, and he was afraid to turn himself in again, even
21                  if for a brief period. As a result of his failure to do so, he has been in
                    continuous custody since December 9, 2022, much longer than he would
22                  have been if he had turned himself in.

23   Id. ¶ 17. Including time in state custody on the same offense, Mr. Mouton has served approximately

24   six months to date in this case, with continuous custody since December 9, 2022. Id. ¶¶ 4, 7.

25         Mr. Mouton’s brother Jason believes this case “has been a big turning point” for him. Id. ¶ 55.

26   For his part, Mr. Mouton’s future plans include “getting back out into the community, securing a job,

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       Mr. Mouton’s parents, both deceased, were alcoholics and his own struggles with drug addiction
     increased after their deaths. PSR ¶¶ 44-45, 50, 60.
     DEFENDANT’S SENTENCE MEMO
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 1   helping his grandmother and brother, taking care of himself and his health, and securing stable
 2   housing.” Id. ¶ 54. Mr. Mouton also hopes to receive mental health counseling while on supervision
 3   to address the root causes of his drug use. Id. ¶ 58.
 4         For these reasons, it is respectfully submitted that a term of imprisonment of “time served” is
 5   warranted in this case. The additional time he has spent in custody due to his absconder has
 6   impressed upon him the importance of following all conditions of his supervision, even when things
 7   like homelessness make it difficult to do so.
 8                                              CONCLUSION
 9         For the foregoing reasons, the Court should sentence Mr. Mouton to a term of imprisonment of
10   “time served,” effectively six months custody.
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12   Dated:     May 10, 2023                                 Respectfully submitted,

13                                                           JODI LINKER
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14                                                           Northern District of California
15                                                                     /S
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                                                             Senior Litigator
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     DEFENDANT’S SENTENCE MEMO
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